Case 2:23-cv-16873-MCA-MAH
      Case 3:24-mc-80266-JCS Document
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                                                      10/24/24
                                                           Page 1
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                                                                  of 1 1PageID:
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                                          August 30, 2024

VIA ECF

Honorable Michael A. Hammer
United States District Court for the District of New Jersey
50 Walnut Street
Newark, New Jersey 07101

               Re:     Agdal v. Danis
                       Civil No. 23-16873 (MCA) (MAH)

Dear Judge Hammer:

        As directed by the Court’s August 27, 2024 discovery order, please be informed that Mr.
Danis has been unable to locate his old mobile telephone. He is recovering from Covid and his
mother, with whom I spoke, assisted in looking for the telephone but could not find it. Mr. Danis
will continue to look for it.

       Plaintiff’s position with respect to this development is as follows: “Plaintiff does not have
a response at this juncture other than to request that the Court require periodic updates on the status
of Defendant’s efforts to locate the phone until such time as Defendant either finds the phone or
represents that it cannot be found.”

       Related/unrelated: Mr. Danis’ initial deposition has been scheduled for October 8, 2024.

                                                       Respectfully yours,


                                                       Mark A. Berman

cc: All Counsel of Record (via ECF)
